Case 07-11047-CSS Doc 6158-8 Filed 09/30/08 Page 1iof8

EXHIBIT “E”
ORDERED FOR

Buarc aumrc CASE O7-d04ecCSS Doc 6158-8  Fil@H,09/30/0

geepiBe 2 of 8

spepes : SERVICE PERFORMED
CitiFinancial Mortgage Company, Inc. BPO Exterior
CUST MAME ACCT NUM | AGENT HAHE | DIST FROM SUBJECT
MARTINE? BAHENA 0012312425 2 Miles
ADDRESS ciy STATE ap
1051 ROCK SPRINGS RD APT 212 ESCONDIDO cA 92026
DISCLOSURE
QUALITY *S.e0 Addendum
REVIEW
REMARKS
Ass VALUE {90-120 BAY) RECOMMENDED LIST PRICE (St-428 DAY) TYPICAL MAAKETING TIME
w 3 180,000 $ 185,000 90-120 pays
3 2 AShepainey | VME Gi70 DAY] RECOMMENDED LIST PRICE (90-120 DAY) TYPICAL RARXETING TIME
£6 $ 180,000 $ 185,000 90-120 Days
PREVIOUS BPO INFORHATION {if Applicable)
LISTING BROKERAGE LISTING AGENT LISTENG AGENT PHONE
S z ORIGINAL LIST PRICE CURRENT LIST PRICE LISTED FROM TO LISTING FINANCE TERMS
bi a $259,900 $ unk
= LUSTIG
COMMENTS
TYPE STYLE AGE | OVERALL CONDITION RIDE AREAT No
a aN GROUND core aenE THS amet aoe F000 RAINE Ne
OU El
MAIN 4989 up 5 #3 2 SQFT pg FINISHED eee ZONE? Ko
LOT SIZE (ACHES) GARAGE ROOF CONDITION ENVIRONMENTAL tssues? No
se oo 4% Camort Average
3 q POOL FIREPLACE WATER SEWER/SEPTIC TYPE HEAT
5 In-Ground ONSERVED CASUALTY
9 Ss a Public Sewer LOSS (FIRE)? No
Saye EXTERIOR IMPROVEMENTS MOUDILE HOME MAKE/MODEL/VIN {If Applicable}
mm a 5 porch
6 g EXTERIOR COMMENTS
a gE 2 Subject property overall condilion appears average.
~ag®
cB
zB
ANTERIOR COMMENTS (Intertor Orders)
DEBRIS REMOVAL SIGING/PAINT
weg None $ None $
&
STRUCTURAL ROOF
8 d e None $ None $
5 Bs winbows ‘ LANDSCAPING
E 8 5 Nane Nols 5
wee OUTBUILDINGS GiHER
ow None $ None $
aoa
a 72 ExTenion .
wi Ha REPAIA Na apparent exterior repairs noeded as of ihe inspection dale,
woe COMMENTS
Oops CLEANING SINUCTUNE
<< fl a 5 5
bas PAINT CARPETS/FLOOAING
ao of 3 5
Bs
5 TCHEN/API BATHROO!
s B E KETCHEN/APPLIANCES § MS 5
nse
Leg | uriuinies $ OTHER
Og 8
Se INTERIOR
5 a 3 REPAIR
oas COMMENTS
REPAIR TOTAL $ 0
w SETTLEMENT DAY ROT | ‘SOIL EROSION WATER SEEPAGE =| FOUNDATIDM/SLAS [LEAKING RDOF FLOOR BUCKLING | STRUCTURAL DAMAGE
u No. No Yes No
a MOLD/MILDEW MOLD/MILDEW COMMENTS
ue
oo
a ENCHOACHMENTS {If Yes, See Subject Description and Condition Comments} EASEMENTS (I! Yes, See Subject Description and Condition Comments}
No No
TEAMITE WELL/SEPTIC HEATING
Yes Yes Yes
FURTHER INSPECTION OR ENGINEER STRUCTURAL RCOF
REPORTS TO 8& ORDERED Yes Yes Yas
ER
Aul inspections would be typically recommendett.
ANNUAL TAXES § PAID {YEAR} DUE {VEAR)
tn 3,035 unkn unkn
5 MONTHLY ESTIMATE CF UTILITY COST 5 | OTHER MONTHLY MAINTEHANCE COSTS (SHOW REMOVAL, LAWH CARE, ETO}
200 40
ii
= <p | buss WHEN OUE ANO PAYABLE ARE THEY CURRENT? AMENITIES
i Os 200 monthly Common area
wi 25 | conracr PRONE
2 é e P&K Condo 760-746-9127
=e aponess
PAGE 1 OF 2 Farvy, 2003 REP HAME/FIRM/PHONE DATE
3198429 ELIZABETH HIRST (760)877-0513 5/2iv2008

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BulkFG BulkFG

Case 07-1@4%:GSS Doc 6158-8 Filé4,@9@/30/08

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HEIGHBORHCOD COMMENTS {Describe any locational facmnrs, acress to amenities oF functional obsolescence: that add or detract from the subject's marketability}
Subject praperty neighborhoad located within clase proximity to major public services such as employmant,schoals,shopping,and access to the

BPO ADDENDUM

E freeway sysiem.
i
fo
Ee
b mn WILL THE PROPERTY BECOME WHY?
w ie A PROBLEM FOR RESALE? No
= a FINANCING REQUIRED 0 SELL SUTECT SPECIAL FINANCING PROGRAMS AVAILABLE
8S, Canventional
TNOICATE FIMANCIHG SECT WILL QUALIFY FOR
FHANVA Yas COM Veg
NEIGHBORHOOD TREND 15: IS THERE A SEASONAL MARKET? EXPLAIt
No
Declining PRESENT NUMBEH OF MARKET AREA LISTINGS PRICE RANGE
1 FROM 80,000 yas
PRESENT NUMBER Of COMPARADLE LISTINGS PRICE RANGE
6 FAOM + 99,000 WO$ 135,753
AVG MAT TIME UINSOLD LISTINGS ‘TYPICAL RESALE [MGENTIVES (CL COSTS, FTS, OWL, ETC}
a z 124 Seller to pay buyer's closing cast.
5 AVG MKT TIME SOLD LISTINGS
c
= 75
bi z IS THERE NEW HOME CONSTRUCTION? =| PRICE RANGE AND DESCHPTION OF SIMILAR MODELS
uo a No
=&
Ge
ag DISt FROM RM COUNT AY LEVEL AGE LOT SIZE
= # ADORESS UBD ites] UST PRE 60m | SQFT BY LEVEL (TOTAL/ar/DA) CONDITION (59 FT On ACHES)
a
ta | 2/2081 ROCKSPRINGSRO jo.05 69 | amy 928 Tor ns 5 Average 28 foo
og UNIT 136 $ 118.000 nee BDAMS 2
= ; GIA 928 BATHS 2
5 é Camp 7 equal subject for balh count,age,carport parking,communily pool.nferior for bedraam caunt,GLA.
On 2/1051 ROCK SPRINGS RO |o.ot G7 up Tar Rms & 28
. Average od
Of UNIT 215 $ 128.000 main F082 | ope 3
Ge cus 1,02 | sans 2
Me gy
< E Camp 2 equal subject for bedroom and bath count,GLA,age,carport parking,cammunity poal.
=
3) 1051 ROCK SPRINGSRD |o.01 90 ur TOTAMS 6 Avaorage 98 0
UNIT 208 $ 139,753 wad 1082 1 sans 5
asMT
ca 1,082 BATHS 2
Comp 3 equal subject for bedroom and bath count,GLA,age,carpart parking, community pool.
DIST FROM RM COUNT BY LEVEL LOT SIZE
ae ADDRESS EU (Mies) | LUT PRICE DOM | 5Q FT BY LEVEL (TOTAL/1A)04} CONDITION AGE (80 FT OR ACRES)
a
33 | 1/241 ESPANAS GLN 0.85 ust s 169,900 | 29 UP agg [POT RMSE Average 2g (10.01
=< SLE $ se0.000 aoe nes 2
i
ro SALE BATE (14/24/2008 ca 1248 | BATHS 4 5 PATA SOURCE
ae
Og Camp 1 equal subject for age,carport parking,community pool,condition.. Inferior for bedroorm and beth count. Superior for GLA.
oo
28
uP
E i 2| 1043 N BROADWAY UNIT A | 0.79 Lists 175,000 ]228 |. ann Tor ns 6 Goad 33 | oo
2 a OME SALES 175,000 ashy DDAMS
a. 4 900 BATHS DATA SOURCE
5 1 04/07/2008 GLA 2 MLS
Ww 3 Comp 2 equal subjact for bath count,aga,communily pool.Infaricr fer bedroom count,GLa. Supertor for garage space,tondilion,
28
oO
Op 3] 1122 N BROADWAY UNIT B | 0.8 lusts 237.000 | 129 wen {zoo TOT RMS Good 28 «| oD
a BoM
al BALE DATE SALE $ 937,000 BSMT 3
2 E 12/06/2007 wa 1.200 BATHS Mae
Camp 3 equal subject for bedroom and bath countage,carport parking,communily pool. Superior for GLA,cancessions,condilion.
PROPERTY TYPE Sele OCCUPANTS MAME (EF KHOWH) OCCUPANCY STATUS
Condo 2-St Conv Owner Occupied
1. WHAT MORTGAGE PROGRAMS WILL AID IM THE SALE OF THE SUIJECT? PLEASE RE SPECEFIC ASTO RATES, TERNS, CONDITIONS, AND COSTS INVOLVED.
2. WHAT MARKET CONDITIONS, TRENDS AND/OA COMPETITION WILL AFFECT THE SALE OF THE SUBJECT?
CURR MKT CONDITIONS «= EMPLOYMENT CONDITIONS «= PROPERTY VALUES © PREDOMINANT OCCUPANCY = VACANCY HATE © REO/OOARDED «© VANDALISM RISK
Siow Stable Declining Owner Oln 5% Sto 10% Modorate

3. OUTUNE THE MARKETING STRATEGIES NEEDED TO SELL THE SUSUECT (INCL SUGGESTED LIST PRICE, TYPES OF REPAIRS AND COSTS, IF ANY, AND FINANCING INCENTIVES NEEDED):

AS-IS:

Subject properly axierior appears average ¢ondilion.

AS-REPAIRED:

No apparent exterior repairs needed 2s of the inspection
date. Subject complex averall condition appears average,

4. PLEASE PROJECT THE CLOSING COSTS AND SALES PRICE PER YOUR RECOMMENDED STRATEGY:

|__ COMMISSION PERCENT COMMISSION AMOUNT TITLE INSURANCE LEGAL/ESChOW RECORDING TRANSFER PROPERTY TAXES ASSESSMENTS:
4% 14 5,400 $ 1,300 $ avs $ 425 $ 9,035 §
PAGE 2 OF 2 Farvy, 2003 REP NAME/FIAM/PHONE DATE
3195429 ELIZABETH HIRST (7G0)677-0513 5/20/2008

Case 07-11047-CSS Doc 6158-8 Filed 09/30/08 Page 4of8
— - | Addendum 3198429

Subject market area reo driven at the time of inspection. No Arms Length Transactions for closed sales comparables available as
of the inspection date. Closed sales and active listing prices are broad in range this is common for this market.No lot size available
for subject or most comparables due to plat maps show no individual measurements per each unit.
fase.04211047-CSS Doc 6158-8 Filed 09/30/08 Page 5 of 8

Residential Value View

Photos
ACCOUNT NUMBER TRAGUNG NUMBEA FARVY ORDER WO.
0012312425 051920J8 3198425
NAME ADDRESS CITY, STATE, ZiP
MARTINE? BAHENA 1051 ROCK SPRINGS RD APT 212 ESCONDIDO, CA 92026
PHOTOS COMMENT

Account #: 0012312425

Subject Front

Een

Subject House Number

Tracking #: 051920JB

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eet

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Residential Value View

Photos
ACCOUNT NUMBER TRACKING NUMBER FARVY ORDER NO.
00123912425 051920JB 3198429
NAME ADORESS OTY, STATE, ZF
MARTINEZ BAHENA 1051 ROCK SPRINGS RD APT 212 ESCONDIBO, CA 92026
PHOTOS COMMENT

Street View

Sold 4 (241 ESPANAS GLN)

Sold 2 (1043 N BROADWAY UNIT A)

Account #: 0012312425 Tracking #: 051920JB
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’ ay
SS

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Residential Value View

Photos
ACCOUNT NUMBER TRACKING NUMBER FARVY ORDER HO.
0012312425 051920J/B 3198429
NAME ABDRESS CITY, STATE, ZiP
MARTINE? BAHENA 1051 ROCK SPRINGS RD APT 212 ESCONDIDO, CA 92026
PHOTOS COMMENT

Sold 3 (1122 N BROADWAY UNIT B)
is “

Account #: 0012312425 Tracking #: 051920J5
Agu Te@aem 07-11047-CSS Doc 6158-8 Filed 09/30/08 Page 8 of 8

SourceNet Map
ACCOUNT NUMBER TRACKING NUMBER FARVY ORDER NO,
0012312425 051920J8 3198425
NAME ADDRESS CITY, STATE, ZIP
MARTINEZ BAHENA 1051 ROCK SPRINGS RD APT 212 ESCONDIDO, CA 92026

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Lincaln |

Lt 5 Elementary School

Subject Property
1051 ROCK SPRINGS RD APT 212
ESCONDIDO, CA 92026

@ comp. Listing 1
1051 ROCK SPRINGS RD UNIT 136
ESCONDIDO, CA 92026
Dist From Subject: 0 Mites

@ Comp. Listing 2
1051 ROCK SPRINGS RD UNIT 215
ESCONDIDO, GA 92026
Dist From Subject: 0 Miles

@ Comp. Listing 3
1051 ROCK SPRINGS RD UNIT 208
ESCONDIDO, CA 92026
Dist From Subject: 0 Miles

0 Closed Sale 1
241 ESPANAS GLN
ESCONDIDO, CA 92026
Dist From Subject: 0.65 Miles
@ Closed Sale 2
1043 N BROADWAY UNITA
ESCONDIDO, CA 92026
Dist From Subject: 0.79 Miles
© Closed Sale 3
1122 N BROADWAY UNIT B
CA 92026
Dist From Subject: 0.8 Miles
